                Case 23-10831-MFW              Doc 971       Filed 02/13/24        Page 1 of 4




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:
                                                          Chapter 11
                                      1
 Lordstown Motors Corp, et al.,
                                                          Case No. 23-10831 (MFW)
                           Debtors.
                                                          (Jointly Administered)

                                                          Re: Docket No. 928



     CERTIFICATION OF NO OBJECTION REGARDING FIFTH MONTHLY FEE
     APPLICATION OF BAKER & HOSTETLER LLP, AS SPECIAL LITIGATION
      AND CORPORATE COUNSEL FOR THE DEBTORS, FOR ALLOWANCE
             OF COMPENSATION FOR SERVICES RENDERED AND
                 REIMBURSEMENT OF EXPENSES INCURRED
      FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

          The undersigned hereby certifies that, as of the date hereof, they have received no answer,

objection, or other responsive pleading with respect to the fifth monthly fee application for

compensation and reimbursement of expenses (the “Monthly Application”) of Baker & Hostetler

LLP (“Applicant”) listed on Exhibit A attached hereto. The Monthly Application was filed with

the United States Bankruptcy Court for the District of Delaware (the “Court”) on January 22,

2024. The undersigned further certifies that they have reviewed the Court’s docket in this case and

no answer, objection or other responsive pleading to the Monthly Application appears thereon.

Pursuant to the Notice of Fee Application filed with the Monthly Application, objections to the

Monthly Application were to be filed and served no later than February 12, 2024 at 4:00

p.m. (ET). The Monthly Application was filed and served in accordance with the Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses for Chapter



          1
           The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
             Case 23-10831-MFW           Doc 971      Filed 02/13/24    Page 2 of 4




11 Professionals and Committee Members, entered July 25, 2023 [D.I. 181] (the “Interim

Compensation Order”).

       Consequently, pursuant to the Interim Compensation Order, the debtors and debtors in

possession in the above-captioned cases are authorized to pay Applicant eighty percent (80%) of

the fees and one hundred percent (100%) of the expenses requested in the Monthly Application

upon the filing of this certification without the need for a further order of the Court. A summary

of the fees and expenses sought by Applicant is annexed hereto as Exhibit A.

Dated: February 13, 2024
Wilmington, Delaware

Respectfully submitted,

 /s/ Morgan L. Patterson
 WOMBLE BOND DICKINSON (US) LLP                     WHITE & CASE LLP
 Donald J. Detweiler (DE Bar No. 3087)              Thomas E Lauria (admitted pro hac vice)
 Morgan L. Patterson (DE Bar No. 5388)              Matthew C. Brown (admitted pro hac vice)
 1313 North Market Street, Suite 1200               Fan B. He (admitted pro hac vice)
 Wilmington, Delaware 19801                         200 South Biscayne Boulevard, Suite 4900
 Telephone: (302) 252-4320                          Miami, FL 33131
 Facsimile: (302) 252-4330                          Telephone: (305) 371-2700
 don.detweiler@wbd-us.com                           tlauria@whitecase.com
 morgan.patterson@wbd-us.com                        mbrown@whitecase.com
                                                    fhe@whitecase.com
 Counsel to the Debtors and Debtors in
 Possession                                         David M. Turetsky (admitted pro hac vice)
                                                    1221 Avenue of the Americas
                                                    New York, NY 10020
                                                    Telephone: (212) 819-8200
                                                    david.turetsky@whitecase.com

                                                    Jason N. Zakia (admitted pro hac vice)
                                                    111 South Wacker Drive, Suite 5100
                                                    Chicago, IL 60606
                                                    Telephone: (312) 881-5400
                                                    jzakia@whitecase.com




                                                2
Case 23-10831-MFW   Doc 971     Filed 02/13/24   Page 3 of 4




                              Roberto Kampfner (admitted pro hac vice)
                              Doah Kim (admitted pro hac vice)
                              RJ Szuba (admitted pro hac vice)
                              555 South Flower Street, Suite 2700
                              Los Angeles, CA 90071
                              Telephone: (213) 620-7700
                              rkampfner@whitecase.com
                              doah.kim@whitecase.com
                              rj.szuba@whitecase.com

                              Co-Counsel to Debtors and
                              Debtors in Possession




                         3
                                Case 23-10831-MFW         Doc 971   Filed 02/13/24   Page 4 of 4




                                                           EXHIBIT A

                                                  Professional Fees and Expenses
                                                     Monthly Fee Application

    Applicant          Fee Application     Total Fees     Total       Objection      Amount of Amount of         Amount of
                        Period, Filing     Requested    Expenses      Deadline:         Fees      Expenses      Holdback Fees
                          Date, D.I.                    Requested                    Authorized Authorized       Requested
                                                                                     to be Paid to be Paid at
                                                                                      @ 80%         100%
    Baker &           11/1/23 – 11/30/23   $83,544.75     $0.00        2/12/24       $66,835.80     $0.00        $16,708.95
  Hostetler LLP            D.I. 928




WBD (US) 4867-2559-6837v1
